Case 3:04-cr-30029-DRH      Document 218 Filed 05/10/06       Page 1 of 1   Page ID
                                      #471



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

ANGEL BUSTOS-AGUIRRE, et al.,

      Defendants.                                           No. 04-CR-30029-DRH

                                      ORDER

HERNDON, District Judge:

             Now before the court is a Second Motion to Continue Sentencing filed

by defendant Nicole Bowline (Doc. 217). Ms. Bowline has agreed to cooperate and

provide testimony for the government at the trial of Quawntay Adams, and therefore

wishes to continue her sentencing hearing, currently on May 11, 2006, until after Mr.

Adams’ trial, which was recently continued from March 27, 2006 to June 26, 2006.

Therefore, the Court GRANTS defendant Bowline’s Second Motion to Continue

Sentencing (Doc. 217) and CONTINUES the sentencing hearing for defendant

Bowline, scheduled for Thursday, May 11, 2006 at 10:00 a.m. to Friday, September

22, 2006 at 9:30 a.m.

             IT IS SO ORDERED.

             Signed this 10th day May, 2006.

                                                      /s/       David RHerndon
                                                      United States District Judge
